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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN


BRANDON DAVIS,                                               Case No.

                Plaintiff,
v.

RYAN COX,

                Defendant.

DAILEY LAW FIRM, P.C.
BRIAN T. DAILEY (P39945)
ROD M. JOHNSTON (P80337)
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                             COMPLAINT AND JURY REQUEST

          NOW COMES Plaintiff, by and through his Attorneys, the DAILEY LAW FIRM, PC,

and hereby complains as follows:

                                        INTRODUCTION

     1.      This Complaint is brought to address violations and injuries stemming from the

             unlawful, illegal, unreasonable, and completely inappropriate behavior of Michigan

             Department of Natural Resources Officer Ryan Cox (“Cox”) based upon Officer

             Cox’s shooting the plaintiff with a firearm on or about May 13, 2023 at Merrill-

             Gorrel County Park in Barryton, Mecosta County, Michigan.

     2.      There was a physical altercation between plaintiff and the defendant’s father, David

             Joseph Cox at the Campground on May 13, 2023.
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 3.    Initial investigation reveals, David Cox grabbed and pushed the plaintiff who in

       response employed defensive tactics in self defense.

 4.    In response, Defendant Ryan Cox identified himself as a Department of Natural

       Resources conservation officer and without justification and without qualified

       immunity discharged his firearm and shot the plaintiff causing life threatening and

       permanent physical injuries.

 5.    Prior to discharging his firearm, several witnesses heard the defendant announce he

       was a Michigan Department of Natural Resources Conservation Officer.

 6.     Plaintiff’s constitutional rights were violated when Officer Cox used violent and

       excessive force against Plaintiff by shooting him with a firearm and causing grievous

       injuries and life-long injuries and damages.

 7.    The Defendant’s misdeeds and unlawful conduct, including the use of completely

       unreasonable force against Plaintiff, both violated Plaintiff’s rights and also caused

       Plaintiff to suffer various physical and mental injuries, including loss of a kidney,

       permanent intestinal injuries, permanent spinal injuries, colostomy bag, loss of

       Plaintiff’s freedom, loss of income, astronomical medical expenses including future

       medical expenses, emotional injuries, including humiliation, and other non-economic

       losses.

                            PARTIES AND JURISDICTION

 8.    Plaintiff hereby incorporates and references Paragraphs 1 through 7 as though fully

       set forth herein and further alleges:

 9.    Plaintiff Brandon Davis was a resident of Mount Pleasant, Michigan at all times

       material to this action.



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 10.   On information and belief, Defendant Officer Cox was a resident of Cadillac,

       Michigan at all times material to this action.

 11.   On information and belief, Defendant Officer Cox was a Law Enforcement Officer

       with and employed by the Michigan State Department of Natural Resources at all

       times material to this action.

 12.   Defendant Cox was acting under color of state law when he shot and grievously

       injured, threatened, intimidated, violated, and otherwise caused the injuries suffered

       by Plaintiff. As such, Defendant Cox is being sued in his individual, as well as his

       official capacity.

 13.   All events material to this action occurred in Mecosta County, Michigan on or about

       May 13, 2023.

 14.   Jurisdiction is proper in this Court because this action is brought pursuant to claims

       arising under 42 U.S.C. § 1983 alleging violations of Plaintiff’s rights as secured by

       the Fourth and Fourteenth Amendments to the United States Constitution (federal

       question jurisdiction, 28 U.S.C. § 1331). Plaintiff is also alleging claims arising

       under the laws of the State of Michigan (supplemental and/or pendant jurisdiction, 28

       U.S.C.A. § 1367).

 15.   The amount in controversy is also far in excess of Seventy-Five Thousand Dollars

       ($75,000.00) and Plaintiff is seeking damages in the amount of $250,000,000.00.

                                FACTUAL BACKGROUND

 16.   Plaintiff hereby incorporates and references Paragraphs 1 through 15 as though fully

       set forth herein and further alleges:




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 17.   On May 13, 2023, there was a physical altercation between plaintiff and the

       defendant’s father, David Joseph Cox at the at Merrill-Gorrel County Park in

       Barryton, Mecosta County, Michigan.

 18.   Investigation reveals David Cox grabbed the plaintiff by the arm and pushed him in

       the back thereby initiating the altercation and doing so without cause of justification.

 19.   In response, plaintiff employed self-defensive measures and defended himself against

       the unprovoked assault upon him by David Cox.

 20.   Defendant Ryan Cox then intervened and identified himself as a Michigan

       Department of Natural Resources Conservation Officer and he then discharged his

       firearm several times shooting the plaintiff causing life threatening and permanent

       physical injuries.

 21.   Prior to discharging his firearm, several witnesses heard the defendant announce he

       was a Michigan Department of Natural Resources Conservation Officer.

 22.   Defendant Cox was acting under color of state law when he shot and grievously

       injured, threatened, intimidated, violated, and otherwise caused the injuries suffered

       by Plaintiff. As such, Defendant Cox is being sued in his individual, as well as his

       official capacity.

                                       COUNT I
                            EXCESSIVE FORCE – 42 U.S.C. § 1983

 23.   Plaintiff hereby incorporates and references Paragraphs 1 through 22 as though fully

       set forth herein and further alleges:

 24.   At all relevant times, Plaintiff had a right pursuant to the Fourth and Fourteenth

       Amendments of the United States Constitution to be free of any unlawful and

       excessive force, or the use of unreasonable force against his body.

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 25.   At all relevant times, Plaintiff had a right to liberty protected in the substantive

       component of the Due Process Clause of the Fourteenth Amendment, which includes

       personal safety, freedom from captivity, and right to medical care and protection.

 26.   At all relevant times, Plaintiff had a right to fair and equal treatment and protection of

       the law guaranteed by the Equal Protection Clause of the Fourteenth Amendment.

 27.   Under color of state law, Defendant Officer Cox deprived Plaintiff of his

       constitutional rights when he shot him with his firearm causing him life threatening,

       grievous, and permanent injuries, and economic and non-economic damages.

 28.   At all relevant times, Defendant Cox acted within the course and scope of his

       employment with the Michigan Department of Natural Resources and under color of

       law.

 29.   In light of the facts and circumstances confronting Defendant Cox, Defendant Cox’s

       actions were not objectively reasonable given the low severity of any potential crime

       at issue and because Plaintiff posed absolutely no immediate danger to the officers

       and also did not attempt to resist or flee in any manner.

 30.   In addition, all of the above actions violated Plaintiff’s right to be free from such

       unlawful violations of his constitutional rights, including but not limited to, the

       Fourth and Fourteenth Amendments of the United States Constitution.

 31.   So established are the above rights that no reasonable officer or official could

       possibly not know that the shooting of an unarmed civilian was wrong and violated

       Plaintiff’s constitutional rights as a citizen and as a human being – both of which

       were ignored by Defendant in effectuating his design to deprive Plaintiff of same.

 32.   Thus, Defendant Cox is in no way entitled to qualified immunity.



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 33.   Excessive and deadly force was used when Defendant Cox shot the plaintiff with his

       firearm when plaintiff was unarmed and presented no danger or threat to defendant or

       others,

 34.   Defendant Cox’s actions constitute an unjustifiable and excessive use of force

       without legal justification.

 35.   Defendant Cox actions were deliberately indifferent, reckless, wanton, and deprived

       Plaintiff of his civil rights, as secured by the Fourth and Fourteenth Amendments to

       the United States Constitution and through 42 U.S.C. § 1983.

 36.   Faced with the circumstances present at the aforementioned time and place, a

       reasonably prudent law enforcement officer/personnel would or should have known

       that the uses of force described herein violated Plaintiff's clearly established Fourth

       Amendment rights to be free from excessive force under 42 USC 1983.

 37.   The actions of the Defendant were committed maliciously and/or in an unreasonable,

       wanton and/or reckless manner.

 38.   Defendants' actions were performed under color of law and deprived Plaintiff of

       federally protected rights in violation of 42 U.S.C. § 1983.

 39.   As a direct and proximate result of the wrongful conduct of Defendant, Plaintiff

       suffered physical injuries, emotional distress, economic damages and non-economic

       damages.

                          COUNT III - GROSS NEGLIGENCE

 40.   Plaintiff hereby incorporates and references Paragraphs 1 through 39 as though fully

       set forth herein and further alleges:




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 41.   Defendant Officer Cox acted grossly negligent by shooting the plaintiff with his

       firearm.

 42.   Such behavior by Defendant Cox was so reckless as to demonstrate a substantial lack

       of concern as to whether a serious injury against Plaintiff would, and ultimately did,

       result.

 43.   Defendant Cox’s behavior amounted to gross negligence.

 44.   Defendant Cox’s misconduct complained of herein included his duty to perform his

       employment activities so as not to endanger or cause harm to Plaintiff.

 45.   Notwithstanding these duties, Defendant Cox breached his duties with deliberate

       indifference and gross negligence and without regard to Plaintiff’s rights.

 46.   Defendant Cox’s gross negligence and/or failure to exercise reasonable care was

       reckless and amounted to gross negligence, which was the proximate and direct cause

       of Plaintiff’s considerable injuries and damages.

 47.   Defendant Cox was acting under color of state law when he shot and grievously

       injured, threatened, intimidated, violated, and otherwise caused the injuries suffered

       by Plaintiff. As such, Defendant Cox is being sued in his individual, as well as his

       official capacity.

                                      COUNT IV
                                  ASSAULT & BATTERY

 48.   Plaintiff hereby incorporates and references Paragraphs 1 through 43 as though fully

       set forth herein and further alleges:

 49.   Plaintiff was unarmed and presented no threat to the defendant or any other person

       when Defendant Cox discharged his service firearm and shot the plaintiff causing

       great bodily harm.

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 50.   At all relevant times, Defendant Cox acted within the course and scope of his

       employment with the Michigan Department of Natural Resources.

 51.   No ordinarily prudent and intelligent person would have deemed such force

       necessary.

 52.   The acts and omissions of Defendant Cox constitute assault and battery, as well as

       willful, wanton, intentional, malicious and reckless conduct under the law of the State

       of Michigan.

 53.   Defendant Cox was acting under color of state law when he shot and grievously

       injured, threatened, intimidated, violated, and otherwise caused the injuries suffered

       by Plaintiff. As such, Defendant Cox is being sued in his individual, as well as his

       official capacity.

 54.   As a direct and proximate result of the Defendant Cox’s assault and battery, Plaintiff

       sustained physical injuries and emotional distress.

                               COUNT V
             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 55.   Plaintiff hereby incorporates and references Paragraphs 1 through 50 as though fully

       set forth herein and further alleges:

 56.   Through his unreasonable, unlawful, illegal, and unconstitutional behavior, Defendant

       Cox, did intend to cause Plaintiff severe emotional distress or acted with such a

       callous disregard of Plaintiff’s emotional well-being that Defendant Cox should have

       known that it would cause serious emotional distress to Plaintiff.

 57.   As a direct and proximate cause of Defendant Cox’s actions, omissions, violations,

       use of excessive force Plaintiff did suffer severe emotional distress, which is

       corroborated by Plaintiff’s neuropsychologist.

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   58.        Plaintiff’s damages thereto include, but are not limited to, economic and

              noneconomic damages, past and future medical expenses, and all other common and

              statutory damages allowed under the circumstances, including punitive damages for

              such malicious and hurtful actions by Defendants.

                                     DAMAGES REQUESTED

         WHEREFORE, Plaintiff prays for Judgment and Relief for the considerable damage he

has sustained at the hands of Defendant and due to Defendant’s actions, inaction, omissions,

violations, se of excessive force, assault and battery, constitutional violations, and other

wrongdoings, all of which were the direct and proximate cause of Plaintiff’s significant and

permanent injuries, including, but not limited to, economic damages, loss of earnings, loss of

earning capacity, past and future medical expense, attorney fees, costs, interest, non-economic

damages, including Plaintiff’s significant shock, humiliation, embarrassment, discomfort, pain,

suffering, and any other damages allowed under the common and statutory law of the State of

Michigan and of the United States District Court for the Eastern District of Michigan, along with

exemplary and/or punitive damages, including the following:

         a.      Economic Damages, including loss of earnings, earning capacity, and all past and

                 future medical expenses;

         b.      Non-Economic Damages, including physical and mental pain and suffering, and

                 all of those allowed under state or federal common law, statutory law, or

                 otherwise;

         c.      Compensatory Damages;

         d.      Consequential Damages;

         e.      Exemplary Damages – By engaging in the above tortious conduct and statutory or



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           constitutional violations, and through Defendant Cox’s malicious, reckless, and

           wanton conduct towards Plaintiff, all of which caused Plaintiff to suffer

           humiliation, outrage, indignity, and embarrassment;

     f.    Punitive Damages due to Defendant Cox’s willful, malicious, and

           unconstitutional actions;

     g.    A judgment in excess of $250,000,000.00.

     h.    Attorney fees, where applicable;

     i.    Costs and interest;

     j.    Compensatory and punitive damages, plus interest, costs, and attorney fees as set

           forth in 42 U.S.C. § 1988; and

     k.    Any and all other relief that this Honorable Court deems equitable, necessary, and

           just under the circumstances and that would fully compensate Plaintiff for the

           horrific events he experienced, including ensuring, as this Court sees fit, that no

           other individual should again undergo such treatment as Plaintiff did at the vile

           hands of Defendants. Never again.

                                          Respectfully Submitted,

                                          DAILEY LAW FIRM, P.C.


                                          /s/ Brian T. Dailey

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                                        JURY REQUEST

        Plaintiff, by and through his attorney, Dailey Law Firm, P.C., hereby requests a trial by

jury.

                                              Respectfully Submitted,

                                              DAILEY LAW FIRM, P.C.

                                              /s/ Brian T. Dailey

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2023, I electronically filed the foregoing document and

this Certificate of Service with the Clerk of the Court using the ECF system.

                                                     By:     /s/ Brian Dailey
                                                             BRIAN T. DAILEY (P39945)




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